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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION



  VIRGINIA   COALITION    FOR
  IMMIGRANT RIGHTS; LEAGUE OF
  WOMEN VOTERS OF VIRGINIA;
  LEAGUE OF WOMEN VOTERS OF
  VIRGINIA  EDUCATION   FUND;
  AFRICAN        COMMUNITIES
  TOGETHER,

        Plaintiffs,                                     Civil Action No. 1:24-cv-1778

       v.

  SUSAN BEALS, in her official capacity as
  Virginia Commissioner of Elections;
  JASON MIYARES, in his official capacity
  as Virginia Attorney General;

      Defendants.




                 SUPPLEMENTAL DECLARATION OF ANNA J. DORMAN


  I, Anna J. Dorman, declare as follows:

     1. I am an attorney representing Plaintiffs Virginia Coalition for Immigrant Rights, League

            Of Women Voters Of Virginia, League Of Women Voters Of Virginia Education Fund,

            and African Communities Together. I have been employed by Protect Democracy as

            Counsel since April 2023. I am over the age of 18 and competent to testify as to the

            matters set forth in this affidavit based on my own personal knowledge.



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     2. During the week of October 21, 2024, I spoke with two impacted voters who were

        removed from the Virginia voter rolls under the Purge Program.

                            First Impacted Voter – Christine Rabassa

     3. On Monday, October 21, 2024, I spoke via telephone with Ms. Christine Rabassa.

     4. Ms. Rabassa is a Henrico resident who, according to records obtained by Plaintiffs, had

        her voter registration canceled in accordance with E.O. 35.

     5. Ms. Rabassa confirmed that she is a lifelong citizen of the United States and an eligible

        voter who has been registered to vote in the Commonwealth of Virginia for more than 20

        years.

     6. Ms. Rabassa confirmed that she had voted in “many” previous elections without incident

        and that voting is very important to her and something she prioritizes.

     7. Ms. Rabassa told me that her driver’s license expired on August 3, 2024. She went to the

        Quioccasin Department of Motor Vehicles in Henrico on August 28, 2024 to secure a

        new license. She did not make any intentional changes in her voter registration or

        citizenship status during that interaction.

     8. Ms. Rabassa was unaware of having received any notifications regarding her registration

        status from election officials via mail or any other medium between August and October,

        2024.

     9. Ms. Rabassa is a lifelong Republican.

     10. Ms. Rabassa attempted to vote in person at the Government Center early voting location

        at Parham Road in Henrico in early October.

     11. When she presented her identification, poll workers were unable to confirm her name on

        the poll books and called over the supervisor.




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     12. Ms. Rabassa was then taken to a separate room with the supervisor who informed her that

        her registration had been canceled. It was represented to Ms. Rabassa that her registration

        was canceled because the U.S. citizen box on her DMV paperwork back in August was

        not checked.

     13. The supervisor then reviewed registration records and confirmed that Ms. Rabassa was an

        eligible voter. She was then required to re-register.

     14. Ms. Rabassa was unable to vote on that day, was turned away from the polls and not

        offered a provisional ballot, and was required to return on a second occasion in order to

        cast her ballot.

     15. Since receiving the list of individuals removed under the Purge Program on Tuesday,

        October 24, 2024, I have confirmed that Ms. Rabassa is included on the list and had her

        registration canceled on September 6, 2024.

     16. I also confirmed that Ms. Rabassa has subsequently re-registered and that her current

        registration status is “active.”



                              Second Impacted Voter – Ms. Shantae Martin

     17. On October 23, 2024, I spoke with a second impacted individual who had their

        registration canceled under the Purge Program.

     18. This second individual, Shantae Martin, is a 37 year old resident of Prince William

        County, Virginia.

     19. She is a United States citizen and was born and raised in the Commonwealth of Virginia.

     20. Ms. Martin has been registered to vote in Virginia for more than 10 years and regularly

        participates in elections.




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     21. Ms. Martin told me that voting is very important to her because it brings her together

        with her grandmother.

     22. Ms. Martin was removed from the voter rolls as a result of the Purge Program because

        Prince William County identified her as an alleged non-U.S. citizen, even though she was

        born in the United States and has been a U.S. citizen her entire life.

     23. Ms. Martin only recently learned that she was no longer registered to vote when a

        volunteer with African Communities Together (“ACT”) called her to tell her her voter

        registration had been canceled.

     24. She recalls receiving a flier in April that said something about being an illegal alien and

        being prohibited to vote, but represented to me that she did not pay it any attention

        because she has always voted in Prince William County, they have all her information

        and know that she is a citizen and eligible voter.

     25. Ms. Martin informed me that she last went to the Department of Motor Vehicles in April

        to get her driver’s license.

     26. Ms. Martin informed me that she did not recall being asked to confirm that she was a

        U.S. citizen at that time or being asked any questions about her citizenship.

     27. Ms. Martin was already registered to vote long before getting her license so she did not

        even consider whether anything that happened there would impact her voting status.

     28. Ms. Martin represented to me that she is worried that because she was removed from the

        voter rolls, she will be unable to vote in the 2024 General Election. She plans to use same

        day registration to vote in person on Election Day.




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  I declare under penalty of perjury that the foregoing Declaration is true and correct.




  Executed on October 24, 2024




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